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 Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 HIGHLAND CAPITAL MANAGEMENT, L.P.,               §
                                                  §
                                 Plaintiff,       §   Case No. 3:21-cv-00881-X
                                                  §
 vs.                                              §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT FUND                 §   (Consolidated with 3:21-cv-00880-
 ADVISORS, L.P., et al.,                          §   X, 3:21-cv-01010-X, 3:21-cv-01378-
                                                  §   X, 3:21-cv-01379-X)
                                 Defendants.      §
                                                  §

            APPENDIX IN SUPPORT OF MOTION TO DEEM THE DONDERO
            ENTITIES VEXATIOUS LITIGANTS AND FOR RELATED RELIEF




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Ex.                                       Description                                     Appx. #

1.       Summary Litigation Chart                                                          1-16

         Judgment, Index No.: 650097/2009, NYSCEF Doc. No. 646 (N.Y. Sup. Feb. 10,
2.                                                                                         17-21
         2020)
         Decision and Order After Trial, Index No. 650097/2009, NYSCEF Doc. No. 650
3.                                                                                         22-62
         (N.Y. Sup. Sept. 14, 2020).
         Proof of Claim No. 190 (UBS Securities LLC, UBS AG, London Branch, Jessup
4.                                                                                        63-184
         Holdings LLC, Muck Holdings LLC)
         Proof of Claim No. 191 (UBS Securities LLC, UBS AG, London Branch, Jessup
5.                                                                                        185-306
         Holdings LLC, Muck Holdings LLC)
         Transcript of Hearing Held May 17, 2019, Daugherty v. Highland Capital
6.                                                                                        307-404
         Management, L.P., C.A. No. 2018-0488-MTZ (Del. Ch. May 17, 2019)
         Partial Final Award, Redeemer Committee of the Highland Crusader Fund v.
7.                                                                                        405-467
         Highland Capital Management, L.P., Case No. 01-16-0002-6927 (March 6, 2019)
         Final Award, Redeemer Committee of the Highland Crusader Fund v. Highland
8.                                                                                        468-491
         Capital Management, L.P., Case No. 01-16-0002-6927 (April 29, 2019)
         Transcript of Hearing Held August 8, 2022, Adv. Proc. No. 21-3020 (Bankr. N.D.
9.                                                                                        492-625
         Tex. Aug. 8, 2022)

10.      Proof of Claim No. 70 (Hunter Mountain Trust)                                    626-638


11.      Proof of Claim No. 95 (Highland Capital Management Fund Advisors, L.P.)          639-657


12.      Proof of Claim No. 98 (Highland Global Allocation Fund)                          658-663


13.      Proof of Claim No. 100 (Highland Opportunistic Credit Fund)                      664-669


14.      Proof of Claim No. 101 (Highland Tax-Exempt Fund)                                670-675


15.      Proof of Claim No. 102 (Highland Energy MLP Fund)                                676-681


16.      Proof of Claim No. 103 (NexPoint Strategic Opportunities Fund)                   682-687




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Ex.                                       Description                                     Appx. #

17.      Proof of Claim No. 104 (NexPoint Advisors, L.P.)                                 688-702


18.      Proof of Claim No. 105 (Highland Income Fund HFRO)                               703-708


19.      Proof of Claim No. 106 (Highland Funds I)                                        709-714


20.      Proof of Claim No. 107 (NexPoint Capital, Inc.)                                  715-720


21.      Proof of Claim No. 108 (NexPoint Advisors, L.P.)                                 721-763


22.      Proof of Claim No. 109 (Highland Fixed Income Fund)                              764-769


23.      Proof of Claim No. 110 (Eagle Equity Advisors, LLC                               770-775


24.      Proof of Claim No. 111 (Advisors Equity Group, LLC)                              776-781


25.      Proof of Claim No. 112 (Highland Long/Short Equity Fund)                         782-787

         Proof of Claim No. 113 (The Dugaboy Investment Trust, as successor-in-interest
26.                                                                                       788-793
         to the Canis Major Trust)

27.      Proof of Claim No. 114 (Highland Funds II)                                       794-799


28.      Proof of Claim No. 115 (Highland Socially Responsible Equity Fund)               800-805


29.      Proof of Claim No. 116 (Highland Healthcare Opportunities Fund)                  806-811


30.      Proof of Claim No. 117 (NexPoint Discount Strategies Fund)                       812-817


31.      Proof of Claim No. 118 (NexPoint Real Estate Strategies Fund)                    818-823


32.      Proof of Claim No. 119 (Highland Capital Management Fund Advisors, L.P.)         824-838




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Ex.                                       Description                                  Appx. #

33.      Proof of Claim No. 120 (The Get Good Trust)                                   839-844


34.      Proof of Claim No. 121 (NexPoint Healthcare Opportunities Fund)               845-850


35.      Proof of Claim No. 122 (Highland iBoxx Senior Loan ETF)                       851-856


36.      Proof of Claim No. 123 (NexPoint Event-Driven Fund)                           857-862


37.      Proof of Claim No. 124 (NexPoint Energy and Material Opportunities Fund)      863-868


38.      Proof of Claim No. 125 (Highland Floating Rate Fund)                          869-874


39.      Proof of Claim No. 126 (Highland Total Return Fund)                           875-880


40.      Proof of Claim No. 127 (Highland Small-Cap Equity Fund)                       881-886

         Proof of Claim No. 128 (The Get Good Non-Exempt Trust No. 1, Individually
41.                                                                                    887-892
         and as Successor-In-Interest of the Canis Minor Trust)
         Proof of Claim No. 129 (The Get Good Non-Exempt Trust No. 2, Individually
42.                                                                                    893-898
         and as Successor-In-Interest of the Canis Minor Trust)

43.      Proof of Claim No. 130 (NexPoint Latin America Opportunities Fund)            899-904


44.      Proof of Claim No. 131 (The Dugaboy Investment Trust)                         905-910


45.      Proof of Claim No. 132 (Highland Merger Arbitrage Fund)                       911-916


46.      Proof of Claim No. 133 (CLO Holdco, Ltd.)                                     917-987


47.      Proof of Claim No. 138 (James D. Dondero)                                     988-993


48.      Proof of Claim No. 140 (NexPoint Capital, Inc.)                               994-999




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Ex.                                       Description                                        Appx. #

49.      Proof of Claim No. 141 (James D. Dondero)                                          1000-1005


50.      Proof of Claim No. 142 (James D. Dondero)                                          1006-1011

         Proof of Claim No. 145 (James Dondero, as the successor-in-interest to the Canis
51.                                                                                         1012-1017
         Major Trust)

52.      Proof of Claim No. 146 (HCRE Partner, LLC)                                         1018-1023


53.      Proof of Claim No. 151 (NexVest, LLC)                                              1024-1035


54.      Proof of Claim No. 152 (Hunter Mountain Trust)                                     1036-1045


55.      Proof of Claim No. 175 (Highland Capital Management Services, Inc.)                1046-1051


56.      Proof of Claim No. 176 (Highland Capital Management Services, Inc.)                1052-1057


57.      Proof of Claim No. 177 (The Dugaboy Investment Trust)                              1058-1063


58.      Proof of Claim No. 178 (NexBank SSB)                                               1064-1072


59.      Proof of Claim No. 188 (James D. Dondero)                                          1073-1078


60.      Proof of Claim No. 198 (CLO Holdco, Ltd.)                                          1079-1149


61.      Proof of Claim No. 254 (CLO HoldCo, Ltd.)                                          1150-1211

         Proof of Claim No. 239 (Highland Capital Management Fund, L.P. and NexPoint
62.                                                                                         1212-1224
         Advisers, L.P.)
         Transcript of Hearing Held April 13, 2022 (PM), Adv. Proc. No. 21-3010 (Bankr.
63.                                                                                         1225-1406
         N.D. Tex. Apr. 13, 2022)
         Transcript of Hearing Held September 12, 2022, Case No. 19-34054-sgj (Bankr.
64.                                                                                         1407-1468
         N.D. Tex. Sep. 12, 2022)




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Ex.                                       Description                                        Appx. #

         Transcript of Hearing Held December 16, 2020, Case No. 19-34054-sgj (Bankr.
65.                                                                                         1469-1535
         N.D. Tex. Dec. 16, 2020)
         Transcript of Hearing Held March 19, 2021, Case No. 19-34054-sgj (Bankr. N.D.
66.                                                                                         1536-1618
         Tex. Mar. 19, 2021)
         Transcript of Hearing Held January 14, 2021, Case No. 19-34054-sgj (Bankr. N.D.
67.                                                                                         1619-1792
         Tex. Jan. 14, 2021)

68.      Grant Scott January 21, 2021 Deposition Transcript                                 1793-1832

         Verified Petition to Take Deposition Before Suit and Seek Documents, Cause No.
69.                                                                                         1833-1842
         DC-21-09534 (Tex. Dist. 95th July 22, 2021)
         Verified Amended Petition to Take Deposition Before Suit and Seek Documents,
70.                                                                                         1843-1856
         Cause No. DC-21-09534 (Tex. Dist. 95th May 2, 2022)

71.      Order, Cause No. 21-09534 (Tex. Dist. 95th Jun. 1, 2022)                           1857-1858

         Petitioner Hunter Mountain Investment Trust’s Verified Rule 202 Petition, Cause
72.                                                                                         1859-1902
         No. DC-23-01004 (Tex. Dist. 191st Jan. 20, 2023)
         Transcript of Hearing Held February 2, 2021, Case No. 19-34054-sgj (Bankr. N.D.
73.                                                                                         1903-2198
         Tex. Feb. 2, 2021)
         Order Denying Hunter Mountain Investment Trust’s Verified Rule 202 Petition,
74.                                                                                         2199-2200
         Cause No. DC-23-01004 (Tex. Dist. 191st Mar 8, 2023)

75.      Proof of Claim No. 186 (Hunter Covitz)                                             2201-2213

         Original Complaint, Index No. 653654/2022, NYSCEF Doc. No. 1 (N.Y. Sup. Oct.
76.                                                                                         2214-2261
         4, 2022).
         Application, No. 106-25786898 (Royal Court of Guernsey)
77.          Signification                                                                 2262-2294
             Affidavit of Paul Richard Murphy (without exhibit)
         Letter from the Texas State Securities Board to Highland Capital Management,
78.                                                                                         2295-2296
         L.P., dated May 9, 2023
         Transcript of Hearing Held Feb. 23, 2021 (PM), Adv. Proc. No. 21-3010 (Bankr.
79.                                                                                         2297-2536
         N.D. Tex. Feb. 23, 2021)
         Transcript of Hearing Held Jun. 8, 2023, Case No. 19-34054-sgj (Bankr. N.D. Tex.
80.                                                                                         2537-2926
         Jun. 8, 2023)



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 Dated: July 14, 2023            PACHULSKI STANG ZIEHL & JONES LLP

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